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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN



PREVENT USA CORPORATION; and
EASTERN HORIZON GROUP
NETHERLANDS B.V.                            Civil Case No.________




         Plaintiffs,
                                            JURY TRIAL DEMANDED


         v.
                                            Judge:_____________

   VOLKSWAGEN, AG; and
   VOLKSWAGEN GROUP OF
   AMERICA, INCORPORATED,


         Defendants.




                                 COMPLAINT
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         Prevent USA Corporation and Eastern Horizon Group Netherlands B.V.

(collectively, “Prevent” or the “Prevent Group”) file this Complaint under the

antitrust laws of the United States and the State laws of Michigan against

Volkswagen AG and Volkswagen Group of America, Inc. (collectively,

“Volkswagen”), and allege the following:

I.       INTRODUCTION

         1.    This is a case about anticompetitive and tortious tactics used by

Volkswagen, the largest carmaker in the world, to maintain its stranglehold over

suppliers of automotive component parts. Volkswagen’s business model depends

on keeping its lower tier suppliers small and weak. The Plaintiff in this case is the

Prevent Group—an international supplier with a subsidiary registered in this

District—that finally stood up to Volkswagen and presented a direct challenge to

its business model. It did so through a strategy to acquire smaller, distressed

suppliers and thereby create a procompetitive check on Volkswagen’s market

power. In response, Volkswagen undertook an anticompetitive campaign to block

any such acquisitions, including by extracting written agreements from suppliers

not to sell themselves to Prevent Group. This strategy was carried out with the

purpose and effect of suppressing competition, maintaining Volkswagen’s market

power over suppliers, and in the process causing massive losses to Prevent.

Prevent brings this action to recover for that damage.


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      2.     The world of carmaker-supplier relations is notoriously rife with

opportunities for abuse. Like most major carmakers, Volkswagen buys parts for its

vehicles from a network of suppliers across the world. Volkswagen’s profits

depend in large part on keeping its lower tier suppliers small, fragmented, and

often on the brink of insolvency. Because of high switching costs, substantial

capital expenditures, and limited information, these smaller suppliers must

“comply or die” when faced with Volkswagen’s anticompetitive terms and prices.

Volkswagen works carefully to maintain this dynamic and acts quickly to stop any

supplier from amassing the scale and bargaining power that might threaten

Volkswagen’s market dominance.

      3.     Plaintiff Prevent Group began in the nineties as a small, family-owned

supplier of leather trim and seating components for automobiles. By the 2010s, the

Prevent Group had grown to be a significant supplier of Volkswagen parts,

including through acquisitions of smaller, distressed suppliers that lacked the

liquidity to keep operating in the face of Volkswagen’s aggressive terms and

prices.

      4.     As it grew larger and acquired smaller, failing suppliers, the Prevent

Group amassed the power to resist Volkswagen’s dominance and insist on

competitive terms and prices. This struck at the core of Volkswagen’s dominance

over suppliers: If a supplier like Prevent were to grow big enough to resist


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Volkswagen, not only would it be able to insist on better terms and prices, but

other suppliers might follow suit. Volkswagen therefore needed to stop

procompetitive consolidation in its tracks, stop any acquisitions by Prevent in

particular, and send a message to the rest of the automotive supplier industry.

      5.     This all came to a head in the midst of Volkswagen’s infamous

“Dieselgate” scandal, when it was revealed that Volkswagen had deliberately

manipulated emission testing for its so-called “clean diesel” vehicles. Rocked by

scandal, and facing billions of dollars in fines and penalties, Volkswagen was

desperate to maintain its market dominance over suppliers and stop the growing,

procompetitive forces being asserted by the Prevent Group.

      6.     Volkswagen resorted to a series of tactics that were shocking in their

audacity and disregard for the law. At the highest levels of the company,

Volkswagen executed an organized, institutional response with a single goal:

identify and arrest any M&A activity among lower tier suppliers that would

threaten Volkswagen’s market power. The Prevent Group was at the heart of this

strategy, given its recent growth through the acquisition of failing suppliers.

      7.     Dubbed internally “Project 1,” the strategy was clear about the threat

that Prevent posed to Volkswagen’s market power. An internal Volkswagen

presentation observed that Prevent was “continuing to actively exert pressure on

Volkswagen through further takeovers!” According to the company’s internal


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presentations, Prevent’s acquisitions of weak suppliers created “increased risk

potential” for Volkswagen, including “negative purchase prices.”

      8.     The internal presentations also outlined Volkswagen’s response: The

company would begin “scouring the supplier portfolio” for additional “small to

mid-size suppliers with high dependency potential,” try “to get visibility on

potential sales”, and then “[i]nfluence consequently the M&A activities of global

players.” In other words, Volkswagen would prey on weak suppliers—those with

“high dependency” on Volkswagen—and use its power to stop them from being

acquired by Prevent. Volkswagen’s internal Project 1 presentations, along with a

comprehensive tracking spreadsheet that Volkswagen used to monitor M&A

activity among suppliers, identified a number of U.S.-based suppliers as “increased

risk” acquisition targets, including Visteon Corporation based in Van Buren

Township, Michigan.

      9.     The means of Volkswagen’s campaign to stop procompetitive M&A

activity included textbook violations of the U.S. antitrust laws. Exerting its market

power, Volkswagen extracted agreements from suppliers—in writing—promising

Volkswagen that they would not sell themselves or their assets to any company in

the Prevent Group.

      10.    Volkswagen carried out the strategy on a global scale. In 2017,

Prevent sought to acquire Inter Groclin Auto (“Groclin”), a Polish supplier of


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automotive seat covers, car seats, and other automotive upholstery. Volkswagen

quickly intervened. On May 4, 2017, Volkswagen forced Groclin to execute an

option contract requiring Groclin to notify Volkswagen of any potential sale,

including the identity of the potential acquirer, and to give Volkswagen the right to

purchase Groclin instead of the other acquirer.

      11.    In another instance, Volkswagen blocked Prevent’s attempts to

acquire Grammer AG and its U.S. subsidiaries. Volkswagen agreed with Grammer

management to block Prevent’s acquisition by threatening to stop doing business

with Grammer. Grammer management agreed to make a statement to shareholders

condemning the deal, to stop communicating with Prevent, and to seek permission

from Volkswagen before accepting any offer.

      12.    Volkswagen’s misconduct was carried out on U.S. soil, including in

this District. In 2016, Prevent sought to acquire the Brazilian operations of Tower

International, Inc., a supplier headquartered in Livonia, Michigan. Prevent’s

approaches to Tower’s management in Michigan were rebuffed at every turn, with

statements such as “Tower can not [sic] do a transaction with [Prevent]” and

“please ask the head of Purchasing for Volkswagen Brazil to advise us that they

would have no issue if Tower Aruja [Brazil] were sold to your company.” Tower

cited no other business reason for turning away the acquisition.




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      13.    Eventually, the truth came out. In a conversation with a third-party

advisor, the CFO for Tower’s Americas operations admitted that Volkswagen

made Tower “agree in writing that [Tower] would not sell to a Prevent associated

company.” This is direct evidence of Volkswagen reaching into this District to

negotiate and execute an anticompetitive agreement. This direct evidence, along

with the evidence of similar agreements with European suppliers and

Volkswagen’s internal Project 1 strategy, makes it plausible to infer that

Volkswagen executed similar agreements with at least seven other Michigan-based

suppliers, six of which are headquartered in this District, which Prevent sought to

acquire but was unable to as a result of Volkswagen’s conduct.

      14.    As a result of Volkswagen’s misconduct, Prevent has suffered

massive losses that strike at the core of its business and threaten its future in this

“grow-or-die” industry. Prevent was prepared to deploy at least $300 million for

the acquisition of U.S.-headquartered suppliers. Based on anticipated synergies

and its demonstrated ability to run those companies more efficiently, Prevent

projected a net return of between $750 million and $1 billion from those

acquisitions. Now, as a result of Volkswagen’s misconduct, the Prevent Group has

been deprived of those opportunities and profits, and has suffered additional harm

to its competitiveness, goodwill, and market capitalization.




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      15.    Volkswagen’s actions harmed not only Prevent, but also the

competitive structure of the automotive component part supplier market, many of

its submarkets, and ultimately consumers of passenger vehicles. If suppliers

cannot obtain the scale and scope necessary to resist Volkswagen’s dominance,

then the market-wide response across suppliers will be to reduce output (that is,

produce fewer parts) in the face of terms and prices that are below competitive

levels. With fewer parts available, the quality of automotive component parts and

automobiles suffers across carmakers. By thwarting acquisitions that would have

created a procompetitive counterbalance to its market power, Volkswagen has

harmed competition and U.S. consumers.

      16.    Accordingly, the Prevent Group brings this action against

Volkswagen for treble damages under state and federal antitrust laws, and for civil

conspiracy and tortious interference under the laws of Michigan.

II.   VENUE AND JURISDICTION

      17.    This Court has jurisdiction under 15 U.S.C. § 26, and 28 U.S.C.

§§ 1331 and 1337. Prevent seeks relief under Section 1 of the Sherman Act, 15

U.S.C. § 1, Section 2 of the Sherman Act, 15 U.S.C. § 2, Section 4 of the Clayton

Act, 15 U.S.C. § 15, and Section 16 of the Clayton Act, 15 U.S.C. § 26.

Jurisdiction is also proper under 28 U.S.C. § 1332 because the amount in

controversy exceeds $75,000 and the action is between citizens of different States


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under 28 U.S.C. § 1332(a)(1), and between citizens of a State and citizens or

subjects of a foreign state under 28 U.S.C. § 1332(a)(2).

         18.   This Court has jurisdiction over the state law claims under 28 U.S.C.

§ 1367 because the state law claims are so related to the federal antitrust claims as

to form part of the same case or controversy.

         19.   Venue is proper in this District under 15 U.S.C. §§ 15(a) and 22 and

28 U.S.C. § 1391. Through Volkswagen Group of America, Volkswagen transacts

business in the United States, including in this District. Volkswagen maintains a

corporate office in this District and makes vehicle sales to Volkswagen dealers

located in this District. Volkswagen’s illegal conduct had a direct, substantial, and

reasonably foreseeable effect on interstate commerce in the United States,

including in this District. These effects include:

               (a)   Foreclosure of Prevent from supplying automotive component

parts;

               (b)   Artificial restriction of market output in the automotive

component part market;

               (c)   Artificially depressed prices in the automotive component part

market; and

               (d)   Artificial restriction of procompetitive acquisitions with

Michigan-based companies.


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      20.    Volkswagen is subject to the personal jurisdiction of this Court

because, as alleged in this Complaint:

             (a)    Volkswagen transacts business, has continuous or systematic

contacts with, or minimum contacts to, the United States and this District sufficient

to satisfy due process;

             (b)    Volkswagen entered into a conspiracy, and performed unlawful

acts in furtherance of the conspiracy, in or from this District, including contacting,

agreeing, and conspiring with the management of at least seven Michigan-based

suppliers to block any procompetitive sale of those companies or their assets to

Prevent, in violation of federal and state antitrust law, and state tort law;

             (c)    Volkswagen is amenable to service of process under Federal

Rule of Civil Procedure 4(k)(1)(A) and Michigan’s long-arm statute, M.C.L.

§ 600.705, because, as alleged in this Complaint, Volkswagen transacted business

in Michigan and contracted to provide services to be rendered or for materials to be

furnished in the State, and did or caused an act to be done that resulted in an action

for tort, and because Michigan’s long-arm statute extends jurisdiction to the limits

of due process and Volkswagen has sufficient minimum contacts with Michigan to

satisfy due process; or

             (d)    Based on the allegations in this Complaint, Volkswagen is

subject to general and specific personal jurisdiction of this Court because it has


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purposefully directed its contacts and conspiratorial conduct at the United States,

including the forum state, and has purposefully availed itself of the laws of the

United States. As alleged, Volkswagen engaged in conspiratorial activities and

anticompetitive conduct that it intended to have, and did have, direct, substantial,

and reasonably foreseeable effects on commerce throughout the United States,

including the forum state.

III.   PARTIES

       A.    The Prevent Group

       21.   Founded and owned by the Hastor Family, the Prevent Group is a

network of companies that is engaged in the worldwide supply of various

automotive component parts.

       22.   Plaintiff Eastern Horizon Group Netherlands B.V. (“Eastern

Horizon”) is a corporation organized and existing under the laws of the

Netherlands with its principal place of business in Amsterdam, the Netherlands.

Eastern Horizon is a company owned by the Hastor Family within the network of

Prevent Group companies and operates as a holding company for newly-acquired

Prevent Group operating companies.

       23.   Plaintiff Prevent USA Corporation is a company within the Prevent

Group, formed specifically to facilitate potential acquisitions in the United States.




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Prevent USA Corporation is organized and existing under the laws of Pennsylvania

and is registered to do business in the state of Michigan.

      B.     Volkswagen

      24.    Volkswagen AG, or the Volkswagen Group, is a corporation

organized and existing under the laws of Germany with its principal place of

business in Wolfsburg, Germany.

      25.    Volkswagen Group of America Inc. is a limited liability company

organized and existing under the laws of New Jersey with its principal place of

business in Herndon, Virginia. Volkswagen Group of America maintains twenty

operational facilities across the United States, including a corporate office within

this District in Auburn Hills, Michigan. Volkswagen Group of America Inc. is a

wholly-owned subsidiary of Volkswagen AG. Through Volkswagen Group of

America, Volkswagen AG, among other things, manufactures, distributes, and

markets vehicles for sale in the United States.

      26.    The Volkswagen Group is the largest manufacturer of passenger

vehicles in the world by sales volume. The Volkswagen Group markets passenger

vehicles under several brands, including Audi, Bentley, Bugatti, Lamborghini,

Porsche, SEAT, Škoda, and its namesake brand, Volkswagen. In 2018, it had

roughly 235.8 billion euro revenue (about $258.8 billion).




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IV.   THE MARKET FOR AUTOMOTIVE COMPONENT PARTS

      A.     The Relevant Product Market

      27.    The average car has tens of thousands of individual component parts.

As the Court is no doubt aware, large carmakers (known in the industry as

“Original Equipment Manufacturers,” or “OEMs”), for the most part, do not

manufacture those parts themselves. Instead, they source them from an array of

automotive component part suppliers across the world.

      28.    Automotive component parts are not to be confused with aftermarket

automotive parts like replacement windshield wipers or spark plugs, for example,

which are sold to consumers in retail outlets and can generally be used in cars

manufactured by different OEMs. Automotive component parts, by contrast, are

generally made to the specifications of an OEM and are sold directly to those

OEMs.

      29.    The individual product markets relevant to this Complaint consists of

the markets for the products manufactured by each of the suppliers that Prevent

sought to acquire, including:

             (a)   Interior seat structures and seat components;

             (b)   Metal automotive body structures;

             (c)   Engine and transmission components;

             (d)   Interior electronics;


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            (e)    Plastic interior and exterior trim;

            (f)    Air systems and fuel management systems; and

            (g)    Control and structural system components.

      30.   In internal documents, Volkswagen analyzes such products as distinct

markets, including by analyzing competitors and respective market shares with

respect to each product separately. The relevant product markets are worldwide in

geographic scope. OEMs like Volkswagen purchase automotive component parts

from suppliers across the world. In response to a non-transitory change in terms

and prices offered by a supplier, an OEM would switch to an alternative supplier in

another country. For example, in 2016, BMW switched its supply of seat covers

from a South African supplier to a Prevent Group company in Bosnia and

Herzegovina. In 2013, Volkswagen switched from its supply of leather from a

South American supplier to Prevent’s tanneries in Europe.

      B.    The Relevant Supply Chain

      31.   The automotive manufacturing market is generally characterized by a

tiered supply chain illustrated by the diagram below.




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             1.     Tier 3 Suppliers

      32.    At the beginning of the supply chain are Tier 3 suppliers. Tier 3

suppliers sell raw, or nearly raw, materials like metal, plastic, textiles, and leather.

             2.     Tier 2 Suppliers

      33.    Tier 3 suppliers sell those raw materials to Tier 2 suppliers. Tier 2

suppliers use those materials to make component parts, although some Tier 2

suppliers are vertically integrated and themselves produce the necessary raw

materials. Tier 2 suppliers often specialize, focusing on manufacturing a particular

part or class of parts. A supplier of interior electronics, for example, is a Tier 2

supplier. Tier 2 suppliers usually sell their goods solely to automotive companies.

      34.    Tier 2 suppliers typically sell their components to Tier 1 suppliers.

      35.    During the relevant time, Prevent was a Tier 2 supplier.




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             3.     Tier 1 Suppliers

      36.    Tier 1 suppliers incorporate the Tier 2 component part into a larger or

more complicated component or an assembly of multiple components. Tier 1

suppliers then sell their component parts directly to OEMs. Tier 1 suppliers

specialize in automotive grade parts, often built to the specification of a particular

OEM. Suppliers of audio systems, for example, are Tier 1 suppliers.

      37.    OEMs often negotiate purchase prices, quantities, and product

specifications with Tier 1 suppliers several times over the duration of a contract.

      38.    Volkswagen makes weekly or monthly orders to Tier 1 suppliers, who

in turn order the necessary quantities from Tier 2 suppliers.

             4.     OEMs

      39.    OEMs are at the final level of the supply chain. These end product

manufacturers design, assemble, and market vehicles for sale to consumers.

Volkswagen is an OEM.

      40.    Although it purchases parts directly from Tier 1 suppliers,

Volkswagen deals directly with suppliers at every level in the supply chain to

source their specific component part. In the interior seating market, for example,

Volkswagen determines the permitted fabric and leather suppliers in the Tier 3

market, the seat warmer suppliers in the Tier 2 market, and the completed seat

supplier in the Tier 1 market. For each level, Volkswagen dealt directly with


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suppliers, either through direct purchases or a directed supplier relationship in

which Volkswagen specifies with a Tier 1 supplier the contractual terms that must

be agreed to by specific Tier 2 or Tier 3 supplier as a condition of the Tier 1

contract.

      41.    Volkswagen thus dictates suppliers, prices, product specifications,

purchase volumes, and sales terms at every level in its supply chain. Volkswagen

refers to its multi-level involvement as “digging deep” into its supply chains.

      C.     Volkswagen’s Market Power Over Suppliers

      42.    Volkswagen has so-called “monopsony power” in the market for

automotive component parts, including in the relevant product markets.

Monopsony power exists when a buyer, rather than a seller, has power in the

purchasing market sufficient to restrain competition, including the power to force a

supplier to do something that the supplier would not do in a competitive market.

      43.    Buyers with such monopsony power can restrict output and lower

prices and terms below competitive levels. In response to these suppressed prices

and terms, suppliers must lower their output—that is, produce fewer components.

With fewer units of various automotive component parts available, OEMs reduce

the quality and increase the price of their end product (here, passenger vehicles),

which harms end-consumers in the long run.




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      44.    These anticompetitive effects have long been recognized by courts

and commentators: “Such shortchanging poses competitive threats similar to those

posed by conspiracies among buyers to fix prices . . . and other restraints that result

in artificially depressed payments to suppliers—namely, suboptimal output,

reduced quality, allocative inefficiencies, and (given the reductions in output)

higher prices for consumers in the long run.” W. Penn Allegheny Health Sys., Inc.

v. UPMC, 627 F.3d 85, 103–04 (3d Cir. 2010) (holding that “when a firm exercises

monopsony power pursuant to a conspiracy, its conduct is subject to more rigorous

scrutiny and will be condemned if it imposes an unreasonable restraint of trade”

(internal citations omitted)); see also Phillip E. Areeda (late) & Herbert

Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their

Application ¶ 350b (4th ed. 2013–18) (“Clearly mistaken is the occasional court

that thinks low buying prices procompetitive regardless of the restraints on

competition that lead to such prices . . . . The suppliers’ loss also constitutes

antitrust injury, for it reflects the rationale for condemning buying cartels—

namely, suppression of competition among buyers, reduced upstream and

downstream output, and distortion of prices.”).

      45.    This economic result occurs market-wide and may not be observable

on a contract-by-contract basis, especially because OEMs enter requirements

contracts that dictate quantity. It also may be somewhat counterintuitive that


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market power exerted to reduce prices could also result in harm to consumers. But

antitrust law and economics have long recognized that these abuses of market

power over suppliers, when observed in the long-run, reduce output, harm

competition, and ultimately harm consumers. See id. at ¶ 575 (“The monopsonist,

like the monopolist, ‘exercises’ its power by reducing output, in this case in the

market in which it purchases.”); id. at ¶ 1637 (noting, for example, that

“[m]anufacturers with monopsony power . . . might use that power to force the

dealer’s markup to infracompetitive levels. The result, as in all cases

of monopsony, would be a reduced supply of dealership services.”); id. at ¶ 2011

(noting that when a monopsonist also has market power in the resale market “the

counterintuitive but nevertheless robust result is reduced output and higher prices

in the resale market”).

             1.    Switching Costs, Supplier Lock-In, and Barriers to Entry

      46.    Here, structural elements of the automotive component part market

make suppliers willing to accept terms they would not accept in a competitive

market—that is, a market not dominated by a buyer with monopsony power.

      47.    As vehicle complexity rises, and new vehicles rely on new and

advanced technology, Volkswagen increasingly requires specialized, dedicated

machinery to produce their components. For the same reason, the capital cost

required for a supplier to switch from producing one OEM’s products to another


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OEM’s products is often prohibitively high, especially for smaller suppliers. These

costs may include specialized technical equipment like tools or machines, plants

near the relevant OEM assembly plant all over the world, and licensing or

otherwise obtaining intellectual property. Prevent, for example, invested

significant resources in warehouses in close proximity to Volkswagen’s assembly

plant in Wolfsburg, Germany.

      48.    Second, suppliers are prevented from switching due to the substantial

lead time and investment necessary to develop the technology and hardware

required to produce a new OEM-specific component. One industry publication

explained that “suppliers are being asked to make substantial long-term

investments in R&D to increase the share of value their component parts contribute

to the mix. But if they can’t recover those investments because they are getting

squeezed by OEMs, an imbalance will occur.”1 Prevent, for example, invested

roughly 20 million euros in machines that were suitable only for manufacturing

Volkswagen’s rear seat steel frames.

      49.    The time between initial contracting and production can be several

years. The result is that “suppliers can’t switch partners on a short notice because

they lack the necessary agility” in their technology and operations.2


1
  Boris Felgendreher, Why Are Global Supply Chains Becoming More Fragile?, SUPPLY CHAIN
DIGITAL, Oct. 31, 2016 (last accessed Nov. 8, 2019). See Exhibit 1.
2
  Id.
                                              22
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      50.    As a result, suppliers are highly or solely dependent on a single OEM

like Volkswagen.

             2.     High Information Costs

      51.    Suppliers also face high information costs. OEMs like Volkswagen

typically order parts on a “just-in-time” basis, meaning Volkswagen only orders

parts when it needs them, often with short notice to the supplier.

      52.    This means that, at the time of original contracting with the OEM, a

supplier cannot predict the quantity requirements of the OEM or the price of those

orders.

      53.    When the supplier invests significant capital in dedicated tooling,

plants near the OEM assembly plant, or other OEM-specific investments, the

supplier is therefore unaware of the price or quantity of the OEM-specific goods,

and unaware how long the OEM will demand those goods. Timing can only be

estimated, and volumes are uncertain. The supplier thus lacks the information to

assess post-investment prices and quantity demands. This relevant information is

either unavailable to the supplier or the cost of obtaining it is prohibitively high.

      54.    Suppliers are therefore given no indication that an OEM might

dramatically decrease the quantity or the price after the supplier makes OEM-

specific investments.




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             3.    Volkswagen’s Abuse of Market Power Over Small
                   Suppliers

      55.    Volkswagen’s market power depends in large part on its ability to

maintain a diverse, fragmented group of small Tier 2 and Tier 3 suppliers. This

behavior differentiates Volkswagen from other OEMs, which depend much more

on large Tier 1 suppliers and do not “dig that deep” into the supply chain to control

Tier 2 and Tier 3 suppliers.

      56.    The manufacture of automotive component parts requires significant

financial liquidity to manage capital-intensive operations and long lead times. This

means that, without substantial size and scale, suppliers often encounter financial

distress and can teeter on the brink of insolvency.

      57.    So long as this dynamic persisted, Volkswagen could exercise market

power over lower-tier suppliers and force them to accept prices and terms below

competitive levels. For many lower-tier suppliers, the choice was simple: Moving

to another OEM would mean immediate insolvency due to the high switching

costs, while accepting Volkswagen’s terms would allow them to survive, at least in

the short term. One member of an automotive supplier organization described the

problem as the choice of “mid-term ‘death for sure’ or a short term ‘death

immediately.’” This comply-or-die predicament was central to Volkswagen’s

exercise of market dominance.



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      58.    Volkswagen exploited this power to impose five principal types of

anticompetitive terms.

      59.    First, Volkswagen required struggling suppliers, which were heavily

reliant on Volkswagen’s business, to sell finished components at prices below the

suppliers’ cost of production, and in some instances below the price those

manufacturers paid for the raw materials. Those suppliers effectively subsidized

every component part sold to Volkswagen.

      60.    For example, before Prevent acquired Rioglass, a French automotive

glass supplier, Volkswagen required Rioglass to sell components at a price below

the cost of raw materials. This period of infracompetitive pricing persisted for

about two and a half years, including after price renegotiations, without Rioglass

switching production capacity to a different OEM. In another example, before

Prevent acquired Car Trim, Car Trim’s contract prices and terms with Volkswagen

forced Car Trim to operate at a loss. This period of infracompetitive pricing

continued for at least a year, during which Volkswagen required additional price

cuts. The same was true for Eybl Austria before it was acquired by Prevent.

Volkswagen required Eybl Austria accept prices below the cost of making the

finished component. These infracompetitive prices were often exacerbated by

required annual price cuts, which Volkswagen successfully imposed on its

suppliers.


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         61.   Second, Volkswagen conditioned continued business on suppliers

making certain technical product changes. For example, Volkswagen would issue

a demand to the supplier that it manufacture certain portions of a seat using lower

quality leather. Within days of the demand, Volkswagen would lower the price it

would pay for seats to reflect the lower-cost product. Volkswagen then refused to

purchase already-produced unchanged goods at the original agreed upon price.

The effect of this conduct was to artificially lower the price of the component

parts.

         62.   In other instances, Volkswagen would require a charge that increased

the material cost of the part while forcing the supplier to bear those increased costs.

Volkswagen would issue a demand for the product change—for thicker steel, for

example. Then suppliers manufactured the more costly products, but Volkswagen

would refuse to pay a higher price for the higher-quality parts, forcing suppliers to

bear the full cost of the improvement. The effect of this behavior is to artificially

lower the price of the improved goods.

         63.   Third, Volkswagen calculated the price it would pay using a method

that systematically drove prices below competitive levels. This method, used in

Volkswagen Requests for Quotes (“RFQs”), did not include the depreciation cost

of plants and equipment, the cost of modifying a plant to meet the technical

demands of Volkswagen, or various unanticipated labor costs. The calculation


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method did not include, for example, indemnity for suppliers for the costs of

winding down a plant when Volkswagen unexpectedly cancelled or dramatically

reduced its demand. Although the RFQ calculation typically was modeled on a 3%

“profit” for suppliers, this margin was quickly eroded by these additional costs for

which suppliers bore all the risk.

       64.     Fourth, Volkswagen required suppliers to pay what it called “Quick

Savings,” which are large upfront payments suppliers must pay to be awarded a

new Volkswagen contract. These upfront payments were not included in

Volkswagen’s RFQ, meaning the supplier did not recoup the cost of the payment

during the contract period. One German researcher discussed this business

practice, noting that “[t]he motor vehicle industry is especially prone to corruption

because of business practices that encourage suppliers to put up large sums to win

contracts . . . .”3

       65.     Fifth, Volkswagen required suppliers to enter multi-year contracts

under which Volkswagen required suppliers to make annual 3% price cuts, without

considering inflation or increased cost of materials. This pricing strategy, which

Volkswagen calls “Global Sourcing,” is used to artificially reduce the purchase

price for component parts.



3
 JUST AUTO, Germany: Auto Industry Particularly Prone to Corruption, July 27, 2006 (last
accessed Nov. 8, 2019). See Exhibit 1.
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      66.    Volkswagen was able to achieve these infracompetitive prices and

terms across its supplier base, including in the relevant product markets. The

effect of these prices and terms was to drive the price of automotive component

parts below levels that would exist in a competitive market.

      67.    All of this establishes Volkswagen’s durable ability to impose prices

and terms that suppliers would not accept in a competitive market—a hallmark of

market power.

V.    VOLKSWAGEN’S RELATIONSHIP WITH PREVENT

      A.     The Companies Enjoy an Amicable Supply Relationship While
             Prevent Remains Small and Compliant

      68.    At its inception in the early 1990s, Prevent’s small manufacturing

business largely involved cutting and sewing leather and textile seat covers.

      69.    In the early 2000s, Volkswagen began using Prevent component parts.

This was at a time when Volkswagen was beginning to outsource large parts of its

own production to numerous suppliers. By the 2010s, Prevent was responsible for

about 70% of the seat covers in Volkswagen brand vehicles manufactured in

Europe, and Prevent was annually supplying Volkswagen with its components for

use in more than six million vehicles.

      70.    At the time, Prevent was a mid-size supplier heavily dependent on

Volkswagen’s business. Using its power over the entire Prevent Group as

leverage, Volkswagen frequently required Prevent to make price reductions.

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Prevent accommodated these price reductions, hoping to increase Volkswagen’s

loyalty to its brand.

       71.     Volkswagen Group purchased Prevent component parts for

incorporation in several of its passenger vehicles: Golf A7, Audi Q3, Passat (B7

and B8) and Audi A1. Volkswagen Group assembled these vehicles, which

incorporated Prevent component parts, in Europe and sold them in the United

States through Volkswagen Group of America.

       72.      Recognizing Prevent’s operational performance, high quality, and

low margins, Volkswagen awarded Prevent several “Supplier of the Year” awards.

       B.      Prevent Begins Acquiring Struggling Suppliers, Threatening
               Volkswagen’s Market Power

       73.     This positive relationship continued until Prevent began a growth and

diversification strategy that directly jeopardized Volkswagen’s ability to maintain

and exploit its market power: the acquisition of distressed and underperforming

suppliers. These acquisitions both expanded Prevent’s product line and allowed

Prevent to produce interior components more efficiently by vertically integrating4

into certain Tier 1 and Tier 3 segments of the supply chain.



4
  “Vertical integration can produce significant cost reductions by enabling the integrating firm to
achieve two kinds of efficiencies. ‘Production’ efficiencies refer to savings in the cost of
producing or distributing a good. ‘Transactional’ efficiencies refer to cost reductions that result
from the firm’s avoidance of the marketplace, with its attendant costs and risks.” Phillip E.
Areeda (late) & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and
Their Application ¶ 757 (4th ed. 2013–18).
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      74.    Prevent acquired nearly two dozen automotive suppliers. These

acquisitions included Austrian interior parts supplier Eybl Austria GmbH, with

plants in Austria, Hungary, Romania and Slovakia in 2008 and 2009, French

automotive glass supplier Rioglass S.A. in 2009, German seat structure supplier

TWB GmbH & Co. KG in 2010, Austrian leather supplier Lederfabrik Vogl in

2011, and German cast iron gearbox supplier ES Automobilguss in 2015.

      75.    At the time of Prevent’s acquisitions, suppliers faced increased

financial difficulty from relentless cost pressure from Volkswagen that brought

many to the brink of insolvency. Without an acquisition, those suppliers could not

have continued to operate.

      76.    During this period of growth, Prevent was known among suppliers

and across the automotive industry for its track record of turning around

underperforming or failing suppliers. Prevent developed highly effective

restructuring techniques, streamlined manufacturing, and leveraged existing

competencies and relationships into new segments of the market.

      77.    Prevent also grew organically through investments in certain Tier 3

supply chain segments. In 2006, for example, Prevent built a leather tannery in

Bosnia and Herzegovina to supply its own high-quality, low-cost leather for use in

its interior leather components.




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      C.     Volkswagen’s “Dieselgate” Scandal Makes it Desperate to Cut
             Costs

      78.    Although Volkswagen had long used these tactics to control its

suppliers, its motivation and intensity increased in late 2015.

      79.    On September 18, 2015, the United States Environmental Protection

Agency issued a notice to Volkswagen accusing the carmaker of using “defeat

devices” in its diesel vehicles. The defeat device could recognize when regulators

were testing the diesel vehicle for compliance with emission standards. The defeat

device then artificially increased pollution controls to falsely indicate to regulators

that the vehicle passed regulatory muster.

      80.    For the year before the EPA notice, throughout 2014, Volkswagen had

insisted that the discrepancies resulted from technical error. But after over a year

of lying to regulators, Volkswagen admitted that it had installed the defeat devices

to conceal the true emissions of 11 million cars worldwide. Following the EPA

revelations, at least ten government authorities opened investigations into

Volkswagen.

      81.    In early 2018, the New York Times revealed that Volkswagen helped

fund at least two studies in 2014 designed to rebut a finding by the World Health

Organization that diesel emissions could cause cancer. In one study, 25 people

were exposed to varying levels of diesel gas over several hours. The study tested

“nitrogen dioxide inhalation by healthy people.” In the second study, researchers

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placed ten monkeys in airtight chambers and forced the monkeys to inhale fumes

from a diesel Volkswagen Beetle. The Beetle was fitted with the defeat device.

      82.    According to documents made public in July 2019, vehicles fitted

with defeat devices, some of which were brand new, were on the road as late as

December 2017. In September 2019, German prosecutors announced charges

against Volkswagen’s two high-ranking executives for failing to inform

shareholders of the EPA investigation that led to Volkswagen’s conviction for

emissions cheating.

      83.    The total cost of the scandal is estimated be as much as 35 billion

euros (about $38.7 billion). In June 2016, Volkswagen agreed to pay $15.5 billion

to settle various public and private lawsuits in the United States, the largest

settlement of an automobile class action in U.S. history.

      84.    Volkswagen was in crisis following Dieselgate. During the three days

of trading after the EPA notice became public, Volkswagen’s stock price dropped

42.5%. A year later, in September 2016, Volkswagen’s stock price was still down

30%. To survive, Volkswagen had to drastically cut costs to both pay the

enormous fines and to invest in electric cars and other green technology to rebuild

its image. To do so, Volkswagen announced an effort to reduce annual spending

by one billion euros (about $1.13 billion).




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      85.    Supplier relationships were a major focus of this cost-cutting.

Ferdinand Dudenhoeffer, director of the Center for Automotive Research at the

University of Duisburg-Essen explained why driving supplier costs below

competitive levels was an attractive option for Volkswagen. “Sinking purchasing

costs at the Volkswagen [G]roup just 1 percent would boost profit by about 1.5

billion euros.” In the month after its record Dieselgate fine, Volkswagen’s head of

procurement Francisco Javier Garcia Sanz sent a letter to suppliers warning them

of new cost cutting efforts, saying Volkswagen faced “epochal change driven by

new technologies and customer requirements.”

      D.     Prevent’s Acquisition of Car Trim Is the “Last Straw” for
             Volkswagen

      86.    In April 2016, with Volkswagen mired in scandal, Prevent continued

to pursue its acquisition strategy through the purchase of Car Trim, a German Tier

2 supplier of leather seat covers, interior components, and complete seats.

      87.    Before the acquisition, Car Trim had at least two running contracts

and two future contracts with Volkswagen that had been executed in late 2015.

Under the two future contracts, Car Trim would perform cutting and sewing

services for two Volkswagen Group vehicles, the Volkswagen Touareg and the

Porsche Cayenne, with delivery starting in 2017 and 2018, respectively. Under the

terms of the running contracts, Volkswagen imposed prices and terms that caused

Car Trim to operate at a loss.

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       88.    When Volkswagen and Car Trim contracted for those goods in 2015,

Car Trim was financially distressed and highly dependent on Volkswagen as its

only large OEM customer. Car Trim faced the comply-or-die decision: Without

the deal, Car Trim would be insolvent. But with the deal, Car Trim had a chance

to survive long enough to complete the Volkswagen contracts. Car Trim accepted.

       89.    In April 2016, it was announced that Prevent was acquiring Car Trim.

Prevent’s acquisition of Car Trim allowed Prevent to maintain the productive

capacity of Car Trim, increasing the overall output of automotive interior seat

components. The acquisition also allowed Prevent to take advantage of productive

efficiencies by integrating Car Trim’s complementary manufacturing assets.

       90.    Before Prevent’s acquisition of Car Trim, Volkswagen was set to

benefit mightily from its two contracts with Car Trim. But as Volkswagen feared,

Prevent’s acquisition transformed Car Trim from a compliant participant in

Volkswagen’s abuse of market power into a company with enough bargaining

power to resist it.

       91.    Volkswagen responded immediately. Within two months of the

acquisition, on June 28, 2016, Volkswagen cancelled the two new contracts with

Car Trim—now a wholly-owned subsidiary of Prevent—on one-day’s notice.




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       E.     In Retaliation for Car Trim, and to Suppress any Challenge to its
              Market Power, Volkswagen Launches “Project 1,” an
              Anticompetitive Campaign to Block Further Supplier
              Acquisitions

       92.    For Volkswagen, the Car Trim acquisition proved that consolidation

among lower-tier suppliers represented the biggest threat to the carmaker’s ability

to control its supply chain, particularly Tier 2 and Tier 3 suppliers. If a supplier

like Prevent could stand up to Volkswagen’s unfair practices and acquire similar

small, distressed suppliers, without the prior consent of Volkswagen, then

Volkswagen could no longer force its suppliers to accept terms and prices below

competitive levels. And this risk was especially acute at a time when Volkswagen

was dealing with the fallout of the Dieselgate scandal. The European press

described the standoff as a “David versus Goliath” story that represented a

potential change in the power dynamics of OEMs and their supply chains.

       93.    Volkswagen addressed this threat with an organized, methodical, and

institutional response. At the highest levels of the Volkswagen Group,

Volkswagen internally unveiled “Project 1,”5 a strategy designed to stop stronger

suppliers—and Prevent specifically—from threatening Volkswagen’s market

power by acquiring smaller distressed suppliers. Project 1 was highly confidential.


5
  The source for the internal Volkswagen documents referenced herein, including the Project 1
documents, is a senior Volkswagen executive with first-hand knowledge of the internal
documents and events alleged herein and whose identity has been concealed to protect against
retaliation by the Company. Quotes of written Volkswagen materials throughout the Complaint
are unofficial translations from German.
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Members of the group were told to destroy documents and communications related

to the scheme.

      94.    Project 1 had both a short-term and a long term component. First,

Volkswagen would wreak havoc on Prevent’s liquidity and short-term viability by

cancelling all existing contracts with Prevent and its subsidiaries. At the same

time, Volkswagen would mislead Prevent about their future supply relationship so

Prevent would not have time to find alternative business.

      95.    Second, Volkswagen would ensure that its suppliers, especially its

Tier 2 and Tier 3 suppliers, remained small, fragmented and vulnerable to

Volkswagen’s market power by putting a stop to any further acquisitions by

suppliers like Prevent.

      96.    Volkswagen’s anticompetitive goal is apparent from its internal

meetings about Project 1. In internal slide presentations, Volkswagen outlined the

factors in a supplier acquisition that would give rise to “increased risk potential”

for Volkswagen. These included, as admitted in Volkswagen’s documents,

“negative purchase prices.” The documents also flagged the risk of consolidation

among suppliers with high reliance on Volkswagen and long transfer times to

switch to another supplier—in other words, the suppliers most vulnerable to

Volkswagen’s market power. Prevent, in particular, Volkswagen representatives




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warned, “continue[d] to actively exert pressure on Volkswagen through further

takeovers!”

      97.     The presentations further summarized Volkswagen’s goals of

“scouring the supplier portfolio” for additional “small to mid-size suppliers with

high dependency potential,” implementing pre-acquisition options in contracts

with suppliers that include the right to refuse acquisitions for “quality issues,”

checking existing “pre-purchase options to get visibility into potential sales,” and

“[i]nfluenc[ing] consequently the M&A activities of global players.”

      98.     As part of these efforts, Volkswagen maintained an expansive internal

spreadsheet that carefully tracked the financial health of suppliers in every level of

its supply chain. This spreadsheet—referred to internally at Volkswagen as “the

“Problematic Suppliers List” or the “Watch List” (hereinafter, the “List”)—

included external financial ratings for each supplier, each supplier’s reliance on

Volkswagen by percentage of sales, a “depth rating” for each supplier, and

Volkswagen’s plans for dealing with the supplier. In the “status” column,

Volkswagen recorded any information on change of control, including whether a

potential purchaser had signed a Letter of Intent to purchase the supplier, and the

identities of potential acquirers.

      99.     In a row for Finoba Auto, for example, Volkswagen lists the

following information: Finoba sells 65% of its volume to Volkswagen; Finoba is


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included on the list because “core business not profitable, high debt, high

dependency, Chinese has taken stakes”; “[t]alks between the managing shareholder

and Völkswagen took place”; and as next steps, “[p]ossibly Change of Control and

standard monitoring.”

      100. The List is evidence that Volkswagen regularly entered “Letter of

Comfort” agreements with failing suppliers to block takeover attempts. For

example, in the row for one supplier noted as an acquisition risk, Alu Menziken

Euromotive GmbH, Volkswagen writes as next steps: “Agreement of general LOC

including information requirement or non-procurement recommendation.”

Another supplier, AD Plastik D.D., appears on the List with an entry (attributed to

Volkswagen Risk Management) that “[d]ue to historical connections to Prevent we

recommend placing on the watchlist.”

      101. The Volkswagen entities and business divisions identified on the List

as responsible for identifying and managing the relationships with the potential

targets included Volkswagen Group of America. Volkswagen Group of America

contributed at least four suppliers to the List. For example, the List says that for

one supplier, FTE, Volkswagen Group of America is noted the “origin” of FTE’s

inclusion on the List, and FTE’s risk rating is noted as “estimated by VWGoA.”

      102. In March 2018, executing on its Project 1 strategy, Volkswagen

abruptly cancelled all existing long term contracts with Prevent. In total,


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Volkswagen issued over a dozen cancellations, including for all existing contracts

between Volkswagen and the following Prevent entities: Prevent DEV GmbH,

Prevent TWB GmbH & Co. KG, Eastern Horizon Group Netherlands B.V.,

Prevent Foamtec GmbH, ES Automobilguss GmbH, Car Trim GmbH, and Eybl

Austria GmbH.

VI.   VOLKSWAGEN’S TORTIOUS AND ANTICOMPETITIVE
      CONDUCT

      103. Armed with the lessons learned from Prevent’s Car Trim acquisition,

Volkswagen set out to execute the second part of Project 1: blocking any further

supplier acquisitions that might threaten its market power.

      104. The means of this conspiracy were flagrant and shockingly obvious.

Demonstrating its market power, Volkswagen extracted agreements from

suppliers—in writing—promising Volkswagen that the suppliers would not sell

themselves or their assets to any company in the Prevent Group.

      105. Volkswagen carried out this scheme on an international scale. On

August 16, 2016, Sebastian Oliver, a Corporate Sourcing Analyst in the

Volkswagen Interior Procurement division gave a presentation about the

Volkswagen supplier base. In the presentation, Oliver outlined Prevent

acquisitions that would have “increased risk potential” for Volkswagen. Oliver

then identified specific “increased risk” acquisition targets. These included certain



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European-based suppliers, in addition to American companies such as Visteon

Corporation, which is headquartered in Van Buren Township, Michigan.

      A.     Volkswagen First Deploys its Acquisition Interference Scheme
             Against Prevent in Europe to Block At Least Two Acquisitions

      106. Volkswagen blocked Prevent from acquiring suppliers or their

operations in several ways, including making misleading statements to the

acquisition targets’ shareholders to induce the shareholders to reject Prevent’s

offer, soliciting and securing alternative offers or buyers, contacting the acquisition

targets’ other large customers to convince those customers to oppose the

transaction, directly lobbying shareholders and other directors to vote against or

otherwise block the transaction, and entering option agreements under which

Volkswagen could purchase the company in the event of an acquisition it did not

like. Volkswagen even hired private investigators to investigate more than two

dozen Prevent executives. On information and belief, Volkswagen did so in an

effort to gather more information about Prevent’s potential takeover targets.

      107. Volkswagen used several of these tactics when Prevent sought to

acquire Grammer AG, a publicly listed German supplier of car seats, armrests, and

head rests, in 2016. Grammer had significant operations in the United States,

which made it an attractive acquisition for Prevent. Volkswagen had listed

Grammer as an “increased risk” acquisition and acted quickly to find a solution to

Prevent’s impending acquisition.

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      108. On August 16, 2016, the same day that Volkswagen executives

discussed the “lessons learned” from Prevent’s Car Trim acquisition, Ralf

Brandstätter, a Volkswagen board member with responsibility for procurement,

presented at a Volkswagen meeting. In that presentation, Brandstätter discussed

the actions necessary to prohibit Prevent from acquiring additional shares in

Grammer. At this point, Prevent had acquired about 10% of Grammer’s shares.

      109.   To block the acquisition, Brandstätter recommended contacting

Grammer management and other Grammer shareholders to convince them to vote

against Prevent’s takeover attempt. Brandstätter also recommended involving

other Grammer customers in the scheme.

      110. Volkswagen then met with Grammer management to develop a plan

to block Prevent’s acquisition. On September 19, 2016, a Volkswagen Board of

Management member met with the CEO and Chairman of Grammer to discuss

blocking the Prevent acquisition. On Volkswagen’s instruction, the Grammer

CEO agreed not to communicate any more with Prevent. The parties also agreed

that Grammer would discuss all actions related to finding an alternative customer

with Volkswagen before acting.

      111. On September 22, 2016, Volkswagen prepared a summary for the

Board of Management explaining why blocking Prevent’s acquisition of Grammer

was essential. Grammer was highly dependent on Volkswagen. Volkswagen


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included Grammer on its Problematic Suppliers List. Volkswagen described the

reason for Grammer’s inclusion on the List as “[e]ntry of Prevent as single largest

shareholder.” The status column reads: “Several discussions with Grammer

executive board and Grammer specialist departments, no new contracts without

protection against a takeover by Prevent.”

      112. On January 11, 2017, a Volkswagen status report shows some of the

specific steps that it took to interfere with the acquisition. These included inducing

the Grammer board to make an announcement that Grammer would not receive

business from “bigger customers” if the shareholders agreed to Prevent’s

acquisition attempt. At the time of the Grammer board meeting, the Volkswagen

report indicates that the statement was “in progress.”

      113. In May 2017, as a result of these tactics, Grammer shareholders voted

to back management and block Prevent’s acquisition attempt.

      114. In another example, Prevent sought to acquire Inter Groclin Auto

(“Groclin”), a Polish supplier of automotive seat covers, car seats, and other

automotive upholstery. Volkswagen quickly intervened. Like Grammer, Groclin

had been on Volkswagen’s Problematic Suppliers List. In the status column,

Volkswagen’s wrote: “Agreement on the signing of an information agreement and

pre-emptive rights after became known that Groclin wants to sell automotive

business (Interested parties include Prevent).” And in the “next steps” column,


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Volkswagen wrote: “One-on-one strategy meeting on 28.02.17 between Groclin,

Procurement and Risk Management is to define future forms of cohesion.”

      115. A few months after that “strategy meeting,” on May 4, 2017, Groclin

entered an option contract with Volkswagen that gave Volkswagen the right to

purchase Groclin if Groclin was acquired. Under the contract, Volkswagen could

either purchase Groclin itself or “appoint a third party to join the purchase

agreement instead of the potential shareholder.” The contract gave Volkswagen

ten working days to exercise the option from the date Groclin entered a final sales

contract.

      116. The contract also required Groclin to notify Volkswagen of any

potential sale, including the identity of the potential acquirer.

      B.     Volkswagen Undertakes a Campaign to Block the Prevent Group
             from Acquiring Suppliers Based in the United States

      117. In 2014, Prevent began to develop a strategy to use its experience and

success acquiring distressed suppliers to acquire suppliers with headquarters in the

United States.

      118. At the time, Prevent’s product portfolio focused largely on interior

component parts, including the interior leather components and automotive seats

that had historically been the specialty of the brand. But by this point, Prevent had

also grown its product line to include other components.



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      119. Prevent’s U.S. acquisition strategy had two principal aims: first, to

strengthen its American presence by acquiring underperforming or distressed

American suppliers within its existing product line; and second, to diversify by

acquiring underperforming or distressed American suppliers of components

outside its existing product line, including metal materials and components like

break disks and engine components.

      120. Prevent had all the elements of a desirable acquirer for a struggling

supplier, including: experience in the component part market, a long track record

of acquiring and turning around distressed suppliers, a strong financial footing, and

existing relationships across the North American supply chain, including with

Tier 1 suppliers like Johnson Controls, Lear, MAT, Magna, Sitech, and Faurecia.

      121. Prevent devoted substantial effort and resources towards this effort.

Prevent invested in building relationships with U.S.-headquartered targets. Prevent

engaged investment banks to find potential U.S. targets. Prevent hired an

experienced American acquisition advisor to facilitate communication with

potential targets and their investment banks. Prevent sought to secure financing

commitments to finance the acquisitions. Prevent set up a dedicated office in New

York City for the purpose of acquiring targets based in the United States.




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      122. Under Prevent’s American acquisition plan, Prevent was prepared to

invest as much as $300 million over three years, with other expenditures

contemplated after that time.

      123. For each of the potential acquisition targets, Prevent hired analysts

and consultants to prepare detailed economic analysis with investment banks,

assess the terms of a potential deal, and facilitate an acquisition.

      124. For a number of companies that Prevent was prepared to acquire,

however, it turned out that these efforts would go to waste. At least seven

suppliers based in the United States that Prevent sought to acquire (the “Target

Companies”) were also on Volkswagen’s Problematic Suppliers List. These

Target Companies were:

             (a)    Tower International, a supplier of metal automotive body

structures headquartered in Livonia, Michigan;

             (b)    Hilite International, a supplier of engine and transmission

components headquartered in Germany, with its North American Sales and

Research and Development Center in Orion, Michigan;

             (c)    Camaco-Amvian, a supplier of metal seat structures

headquartered in Farmington Hills, Michigan;

             (d)    Dura Automotive Systems, a suppliers of control and structural

systems headquartered in Auburn Hills, Michigan;


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             (e)   Visteon, a supplier of interior electronics headquartered in Van

Buren Charter Township, Michigan;

             (f)   Key Plastics, a plastic interior and exterior trim suppliers

headquartered in Livonia, Michigan; and

             (g)   Mahle Industries, Inc., a supplier of air systems and fuel

management systems headquartered in Farmington Hills, Michigan.

      125. All seven Target Companies appear on Volkswagen’s List of

Problematic Suppliers—that is, the List that Volkswagen used to track suppliers

and ensure they were not acquired by a larger company like Prevent.

      126. In the row for Visteon, for example, Volkswagen writes that its reason

for inclusion on the List is “showing signs of a possible sale in 2017.” Visteon’s

external economic rating is listed as “CCC,” a notation indicating Visteon was

highly financially distressed. The “next step” for Volkswagen was to “[p]repare

and agree an informational agreement.”

      127. Volkswagen subjected each of the Target Companies to

infracompetitive prices and terms, and each was highly financially distressed at the

time of Prevent’s attempted acquisition. Dura Automotive Systems, for example,

recently filed for Chapter 11 Bankruptcy. Visteon had also previously filed for

Chapter 11 bankruptcy.




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      128. Each of these Target Companies had an existing relationship with

Volkswagen, including selling automotive component parts to Volkswagen in the

U.S. or other parts of the global market.

      129. Each of the Target Companies manufactured and sold automotive

component parts in the United States to be incorporated by OEMs, including

Volkswagen, in passenger vehicles manufactured and sold in the United States to

United States consumers. Each of the Target Companies is either a Tier 2 or Tier 3

supplier.

      130. Volkswagen deployed a variety of tactics to stop the acquisition of

these Target Companies by stronger suppliers, and by Prevent in particular.

Volkswagen pressured failing suppliers to take Prevent off their lists of potential

acquirers, threatening that they would otherwise not have a future with

Volkswagen as a customer. Volkswagen also actively pressured merger and

acquisition advisors. When an advisor would consider Prevent as a potential

acquirer, Volkswagen intervened to stop the sale. In addition, a sale-side

acquisition advisor asked other advisors to exempt Prevent representatives from

any communication soliciting bids or advertising automotive targets. On

information and belief, these sale-side advisors were acting at the direction of

Volkswagen.




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      131. And, as detailed below, Volkswagen also resorted to extracting

agreements from the Target Companies that explicitly prevented any sale of their

business that might threaten Volkswagen. Through these efforts, Volkswagen

deliberately and repeatedly reached into the United States, and into Michigan in

particular, to perpetrate its anticompetitive scheme.

      C.     Through an Explicit, Written Agreement, Volkswagen Conspires
             with Tower to Stop an Acquisition by Prevent

      132. In 2016, Prevent sought to acquire the Brazilian operations of

Michigan-based Tower International, Inc. (“Tower”).

      133. Tower manufactured metal automotive body structures and

assemblies, including metal frames, chassis, and suspension components. In April

2016, Tower publicly announced that it was selling its operations in Brazil and

China. Tower was struggling. Its net income had dropped by 40% the year before.

      134. Volkswagen had included Tower on its List of Problematic Suppliers.

In the “reason for inclusion” column, Volkswagen writes: “Sale of European and

Brazilian business targeted, Tower Brasil, CZ and SK in deficit. Sale of Europe

canceled completely. Sale Brazil in clearing.” In the status column, Volkswagen

notes that “[c]onversation with Tower is done” and “[o]bligation to provide

information as agreed for Tower Europe.” For next steps, Volkswagen says:

“Clarification Procedure Brazil with Group and VW Brazil, feedback VW Brazil is

pending.”

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       135. On May 19, 2016, a Prevent representative emailed Tower Americas

CFO Phil Pfefferle6 in response to Tower’s public announcement of the sale.

Almost instantly, however, Pfefferle responded that “Tower can not [sic] do a

transaction with [Prevent].” After additional back and forth, Prevent emailed an

offer to Tower Director of Investor Relations Derek Fiebig.7 Prevent offered to

purchase all Tower’s Brazilian operations for 200 million Brazilian Real (about

$48.6 million).

       136. Prevent also offered to issue a formal letter of intent to Tower.

Prevent investors had approved the acquisition, secured financing, and hired an

investment banker to facilitate the deal.

       137. It ultimately became clear, however, that Volkswagen was standing in

the way of a potential acquisition by Prevent.

       138. On June 22, 2016, Tower CEO Mark Malcolm8 responded to

Prevent’s offer. Malcolm wrote: “Volkswagen is the largest customer of Tower in

Aruja [Brazil] and is also Tower’s largest customer in Europe, so we cannot risk

creating a problem. If our understanding is correct, please ask the head of


6
  Pfefferle worked out of Tower’s Livonia, Michigan headquarters and resided in the greater
Detroit area.
7
  Fiebig worked out of Tower’s Livonia, Michigan headquarters. He was responsible for
Tower’s interaction with shareholders, securities analysts, and investment banks. He was also
responsible for developing and executing Tower’s strategy for selling assets.
8
  Malcolm worked out of Tower’s Livonia, Michigan headquarters. Mark Malcolm was replaced
as CEO of Tower in January 2017. Malcolm continued as a director of Tower from January
2017 to September 2019, when Tower was acquired.
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Purchasing for Volkswagen Brazil to advise us that they would have no issue if

Tower Aruja [Brazil] were sold to your company.” In a follow-up email the next

day, Malcolm wrote “[i]f and when you are confident that Volkswagen Purchasing

would support a possible acquisition of Tower Aruja [Brazil] by your company,

please ask Volkswagen Purchasing to so advise Tower Brazil’s President.”

          139. In February 2017, a Prevent representative met with Tower’s

Brazilian Purchasing Manager, to discuss buying Tower’s Brazilian business.

According to an email account from a Prevent employee, during that meeting, on

February 21, 2017, the Tower purchasing manager reported being told by Tower

International management that “VW demanded that they [Tower International

management] sign a document that informed of any sale to any interested party,

specifically to Keiper [a Prevent entity], giving VW the right of option before

selling the business.”9

          140. Eventually, the full story came out. In a conversation with a third-

party advisor in 2019, the Tower Americas CFO, Phil Pfefferle, admitted that in

negotiations with Volkswagen, “I had to agree in writing that [Tower] would not

sell to a Prevent associated company.”

          141. It is plausible to infer that the negotiations leading to this agreement

were systematic and continuous from at least mid-2016 to early 2017, during the


9
    This quote is an unofficial translation from Portuguese.
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time of Tower’s potential sale of its Brazilian operations, and that the negotiations

were carried out with Tower management from their headquarters in Livonia,

Michigan.

      142. The purpose and effect of the agreement between Volkswagen and

Tower was to foreclose any potential acquisition by Prevent of Tower’s operations,

which included operations in the United States, and operations that produced and

sold automotive component parts in the United States for vehicles sold in the

United States.

      143. On information and belief, Tower’s failure to sell its Brazilian

operations to Prevent significantly decreased shareholder value. Prevent’s

acquisition would have maximized Tower shareholder value by offloading the

distressed Brazil operations.

      144. On information and belief, Tower management never disclosed to its

shareholders Prevent’s offer, Volkswagen’s interference, the history of

negotiations between Prevent and Tower, or the communications between

Volkswagen and Tower. This information would have been material to a

reasonable shareholder because, Prevent’s offer was, at the time, the only offer

management received in response to its public declaration of sale for the Brazil

business. Volkswagen caused Tower management to deprive its shareholders of

the benefit of Prevent’s acquisition.


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      D.     It is Plausible to Infer that Volkswagen Executed Similar
             Agreements with Other Target Companies based in the United
             States

      145. Based on the facts alleged in this Complaint and summarized below, it

is plausible to infer that Volkswagen entered into similar agreements with the other

Target Companies.

      146. First, Volkswagen’s conduct with respect to Grammer, Groclin, and

Tower demonstrate a pattern to block acquisitions that Volkswagen perceived as

posing a procompetitive threat, including through express, written agreements.

Both the written Groclin agreement and the written Grammer agreement came

shortly after Prevent expressed an interest in acquiring those companies.

Volkswagen acknowledged in its “Problematic Suppliers List” that it entered the

agreements with Grammer and Groclin with the express purpose of blocking

Prevent’s acquisition attempt.

      147. Second, each of the Target Companies appears on Volkswagen’s

“Problematic Suppliers List,” which it used to track weak, highly dependent

suppliers, and to block possible acquisition attempts of those suppliers.

      148. Third, Prevent expressed interest in acquiring each of the Target

Companies, including securing financing for the potential acquisitions and hiring

investment banks to evaluate the acquisitions. Each of the Target Companies were

distressed or underperforming at the time of the attempted acquisition, and each


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had a prior relationship with Volkswagen. The Target Companies therefore fit the

profile of “increased risk” acquisition targets with a “high dependency” on

Volkswagen, as outlined in Volkswagen’s Project 1 presentations.

      149. Fourth, Volkswagen’s Project 1 outlined a deliberate strategy to stop

Prevent from “continu[ing] to exert pressure on Volkswagen through further

takeovers!” Volkswagen also explicitly outlined its plan to use “pre-purchase

option contracts to gain visibility into potential sales,” which would include

“change of control clauses” designed to stop acquisitions of suppliers such as the

Target Companies that were small to mid-size suppliers with high dependency on

Volkswagen.

      150. Fifth, Volkswagen actively pressured merger and acquisition advisors,

including Morgan Stanley in the case of Grammer AG, not to contact or solicit bids

from Prevent for failing automotive companies.

      151. Sixth, Volkswagen actively pressured distressed suppliers not to sell

their companies to Prevent, threatening to stop doing business with the suppliers if

they allowed Prevent’s acquisition.

      152. Together, this conduct makes it plausible to infer that Volkswagen

engaged in the same or similar anticompetitive conduct to stop Prevent from

acquiring each of the Target Companies.




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VII. HARM SUFFERED BY PREVENT FROM VOLKSWAGEN’S
     MISCONDUCT

      153. Volkswagen made out handsomely from the scheme. Just two years

after the Dieselgate scandal threatened to destroy it, Volkswagen was more

profitable than before the scandal. Financial analysts were perplexed at how this

was possible. One analyst from JP Morgan, José Asumendi, said: “It’s

astonishing. You wouldn’t be able to recogni[z]e that they had gone through the

diesel crisis.” The unexpected, and to some “impossible,” returns came from “big

cost cuts.”

      154. By contrast, as a result of Volkswagen’s misconduct, Prevent was

blocked from conducting the acquisition strategy necessary to expand its business.

In this “grow or die” industry, the effect on Prevent was disastrous: Prevent’s

automotive business went from being worth over 1 billion euro (about $1.13

billion) to having serious liquidity problems that threaten its long-term viability.

      155. As demonstrated by the substantial resources that Prevent devoted to

its acquisition strategy, in the absence of Volkswagen’s interference and

anticompetitive agreements with the Target Companies, Prevent would have

acquired some or all of the Target Companies, or divisions of the Target

Companies. Each of the thwarted acquisitions would have increased productive

efficiencies by allowing Prevent to capitalize on economies of scale and scope.

The acquisitions would have increased the output in each of the relevant product

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sub-markets by allowing Prevent to resist Volkswagen’s infracompetitive price and

supply terms. In turn, the acquisitions would have allowed each of the Target

Companies to remain financially viable competitors in their respective product

sub-markets.

      156. All of the Target Companies manufacture and sell automotive

component parts in the United States for incorporation in passenger vehicles

manufactured and sold in the United States. Volkswagen Group of America, under

the direction of Volkswagen AG, purchased automotive component parts from the

Target Companies and Prevent at artificially low prices. Further, on information

and belief, through Volkswagen Group of America, Volkswagen AG sold

passenger vehicles in the United States that incorporated the affected automotive

component parts. Accordingly, by artificially restraining competition in the

automotive component part market, and artificially reducing the output in that

market, Volkswagen’s anticompetitive actions had a direct, substantial, and

reasonably foreseeable effect on United States commerce.

      157. As commentators have recognized, acquiring suppliers is necessary to

maintain the bargaining power, geographic scope, and economies of scale required

to remain in the automotive component part market. Across industries, the top

procurement tactic generating business value is consolidating volumes to increase

negotiating powers. This is because fewer suppliers with more volume means

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shared investment in technology, capacity, and personnel are all possible areas for

cost savings.

       158. But for the collusion between Volkswagen and the Target Companies,

and Volkswagen’s tortious interference with those business expectancies, Prevent

would have increased efficiency and thus profitability across its business.

Prevent’s acquisitions of the Target Companies thus would have had a

procompetitive10 effect in each of the relevant product markets because:

                (a)   The products produced by Prevent and the Target Companies

are highly complementary, allowing Prevent to attain lower per-unit costs and

greater specialization of both labor and machinery;

                (b)   The distribution channels of Prevent and the Target Companies

were highly similar, which would have facilitated economies of scale in

distribution because downstream suppliers could more cheaply distribute the goods

once bought separately from Prevent and the Target Companies;

                (c)   Each of the Target Companies was distressed, underperforming,

or had significant room for operational improvement, and Prevent’s acquisition

would have allowed the Target Companies’ usable assets to remain productive,

reassigning the productive assets from failing users to a successful user;



10
  See generally Phillip E. Areeda (late) & Herbert Hovenkamp, Antitrust Law: An Analysis of
Antitrust Principles and Their Application ¶¶ 1105, 951–53 (4th ed. 2013–18).
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             (d)    Prevent’s acquisition of the Target Companies would have

precluded the administrative costs of bankruptcies; and

             (e)    Prevent would have been able to realize research and

development efficiencies because of both the diversity of its activities post-

acquisition and its internal organization.

      159. Volkswagen’s tortious and anticompetitive conduct has also caused

Prevent to suffer substantial monetary damages. Prevent made a series of internal

projections based on the deployment of the $300 million in capital that Prevent had

allocated toward its acquisition strategy. Upon the successful deployment of that

capital through acquisition of the Target Companies, Prevent projected a return of

between $750 million and $1 billion over five to seven years.

      160. This conservative projection range was calculated using Prevent’s past

returns from acquired suppliers, Prevent management’s projections for the returns

from acquiring the Target Companies, and projections on the increased

efficiencies, including economies of scale and scope, that Prevent would have

achieved by adding one or more of the Target Companies to the Prevent portfolio.

      161. By blocking Prevent from acquiring the Target Companies,

Volkswagen foreclosed Prevent from capturing these returns, caused loss to

Prevent’s industry goodwill and market reputation, and substantially decreased the

overall market valuation of the Prevent Group.


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VIII. LEGAL CLAIMS FOR RELIEF

          Claim 1: Violation of Sherman Act § 1, Agreement in Restraint of
                                      Trade

      162. Plaintiffs incorporate by reference the allegations in all preceding

paragraphs.

      163. As alleged, Volkswagen has engaged and participated in one or more

contracts, combinations, or conspiracies to artificially restrict competition for

automotive component parts. Volkswagen expressly agreed with Target

Companies’ management, including management of Tower, to block acquisition

attempts by Prevent.

      164. Volkswagen’s conduct violated, and continues to violate, Section 1 of

the Sherman Act, 15 U.S.C. § 1, as an unreasonable restraint of trade.

      165. Volkswagen’s conduct is per se unlawful under federal antitrust law.

Alternatively, Volkswagen’s conduct is an unreasonable restraint of trade under the

rule of reason.

      166. The relevant market is the worldwide market for automotive

component parts, including the product sub-markets for each of the automotive

component parts manufactured by Prevent and the Target Companies.

      167. Volkswagen has market power in that relevant market, as directly

evidenced by its sustained ability to impose terms and prices on its suppliers that

are below competitive levels.

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       168. Volkswagen has committed at least one overt act in furtherance of the

conspiracy alleged in this Complaint.

       169. Volkswagen’s actions as part of, and in furtherance of, its contracts,

combinations, or conspiracies in restraint of trade were authorized, ordered, or

done by one or more of Volkswagen’s officers, agents, employees, or

representatives while actively engaged in the management of Volkswagen’s

affairs.

       170. Volkswagen’s anticompetitive acts had, and continue to have,

substantial, unreasonable, and foreseeable effects on interstate commerce in the

automotive component part market, including in each of the relevant product sub-

markets. These anticompetitive effects include:

             (a)   Artificial suppression of competition in the market for

automotive component parts;

             (b)   Artificial reduction in market output and infracompetitive

prices for automotive component parts; and

             (c)   Artificial reduction in innovation and quality in the automotive

component part supply market.

       171. Any competitive benefits from the conduct of Volkswagen and the

Target Companies do not outweigh the actual and likely anticompetitive effects of




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the agreements. Any possible procompetitive benefits of the agreements with the

Target Companies could have been achieved by less restrictive alternatives.

      172. Prevent was harmed, and continues to be harmed, as a result of

Volkswagen’s anticompetitive conduct. Prevent suffered antitrust injury because:

              (a)   Volkswagen subjected Prevent to below-competitive prices and

terms for automotive component parts;

              (b)   Volkswagen’s anticompetitive agreements to block Prevent’s

procompetitive acquisitions foreclosed Prevent from the market for automotive

component parts, including the relevant individual product sub-markets;

              (c)   Volkswagen’s anticompetitive agreements with the Target

Companies to block Prevent’s acquisitions decreased productive efficiency; and

              (d)   Volkswagen conduct caused Prevent to reduce its automotive

component part output.

      173. The injury to Prevent was a foreseeable consequence of Volkswagen’s

anticompetitive agreements with the Target Companies.

               Claim 2: Violation of Sherman Act § 2, Monopsonization

      174. Plaintiffs incorporate by reference the allegations in all preceding

paragraphs.

      175. The relevant market is the worldwide automotive component part

market, including the relevant product sub-markets.


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      176. Volkswagen has monopsony market power in the market for the

automotive component parts, including in each of the relevant individual product

sub-markets.

      177. Volkswagen’s monopsony power is not the consequence of a superior

product, business acumen, or historical accident. Instead, Volkswagen’s

monopsony power stems from its anticompetitive upstream control strategy,

including its anticompetitive interference with supplier acquisitions, which

unreasonably restrains trade. Volkswagen therefore willfully acquired or

maintained its monopsony power.

      178. There is no procompetitive justification for Volkswagen’s

anticompetitive conduct that outweighs its anticompetitive effects. Any possible

procompetitive benefits could have been achieved by less restrictive alternatives.

      179. Volkswagen’s willful acquisition or maintenance of its monopsony

power described in this Complaint injured, and continues to injure, Prevent in its

business or property. Prevent suffered antitrust injury because:

               (a)   Volkswagen subjected Prevent to infracompetitive prices for

automotive component parts;

               (b)   Volkswagen’s anticompetitive agreements to block Prevent’s

procompetitive acquisitions foreclosed Prevent from the market for automotive

component parts, including the relevant individual product sub-markets;


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              (c)   Volkswagen’s anticompetitive agreements with the Target

Companies to block Prevent’s acquisitions decreased productive efficiency; and

              (d)   Volkswagen conduct caused Prevent to reduce its automotive

component part output.

      180. The injury to Prevent was a foreseeable consequence of Volkswagen’s

willful maintenance or acquisition of its monopsony power.

        Claim 3: Violation of Sherman Act § 2, Attempted Monopsonization

      181. Plaintiffs incorporate by reference the allegations in all preceding

paragraphs.

      182. In the alternative to the Claim 2 for Monopsonization in violation of

Sherman Act § 2, Volkswagen attempted to monopsonize the automotive

component part supply market, including each of the relevant product sub-markets.

      183. The relevant market is the worldwide automotive component part

market, including the relevant product sub-markets.

      184. Volkswagen restrained trade in the automotive component part market

by inducing suppliers to thwart procompetitive acquisitions. This conduct,

including blocking Prevent from acquiring each of the Target Companies, was both

predatory and anticompetitive.

      185. Volkswagen had a specific intent to monopsonize the automotive

component part supply market, including the relevant product sub-markets.


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      186. There is no procompetitive justification for Volkswagen’s

anticompetitive conduct that outweighs its anticompetitive effects. Any possible

procompetitive benefits could have been achieved by less restrictive alternatives.

      187. Volkswagen had a dangerous probability of achieving monopsony

power.

      188. As a direct and proximate result of Volkswagen’s predatory and

anticompetitive conduct, Prevent suffered injury because:

             (a)   Volkswagen subjected Prevent to infracompetitive prices for

automotive component parts;

             (b)   Volkswagen’s anticompetitive agreements to block Prevent’s

procompetitive acquisitions foreclosed Prevent from the market for automotive

component parts, including the relevant individual product sub-markets;

             (c)   Volkswagen’s anticompetitive agreements with the Target

Companies to block Prevent’s acquisitions decreased productive efficiency; and

             (d)   Volkswagen conduct caused Prevent to reduce its automotive

component part output.

      189. The injury to Prevent was a foreseeable consequence of Volkswagen’s

anticompetitive conduct, which was done with the intent of monopsonizing the

market for automotive component parts.




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          Claim 4: Violation of Michigan Antitrust Law, M.C.L. § 445.772,
                          Agreement in Restraint of Trade

      190. Plaintiffs incorporate by reference the allegations in all preceding

paragraphs.

      191. The agreements between Volkswagen and the Target Companies to

block Prevent’s acquisition attempts unreasonably restrain trade and commerce

throughout the State of Michigan in violation of Section 2 of the Michigan

Antitrust Reform Act, M.C.L. § 445.772.

      192. As alleged, Volkswagen has engaged and participated in one or more

contracts, combinations, or conspiracies to artificially restrict competition for

automotive component parts. Volkswagen expressly agreed with Target

Companies’ management to block acquisition attempts by Prevent.

      193. Volkswagen’s conduct is per se unlawful under the Michigan

Antitrust Reform Act. Alternatively, Volkswagen’s conduct is an unreasonable

restraint of trade under the rule of reason.

      194. Volkswagen has committed at least one overt act in furtherance of the

conspiracy alleged in this Complaint.

      195. Volkswagen’s actions as part of, and in furtherance of, its contracts,

combinations, or conspiracies in restraint of trade were authorized, ordered, or

done by one or more of Volkswagen’s officers, agents, employees, or



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representatives while actively engaged in the management of Volkswagen’s

affairs.

       196. Volkswagen’s anticompetitive acts had, and continue to have,

substantial, unreasonable, and foreseeable effects on interstate commerce in the

automotive component part market, including in each of the relevant product sub-

markets. These anticompetitive effects include:

             (a)   Artificial foreclosure of competitors, including Prevent;

             (b)   Artificial reduction in market output and infracompetitive

prices for automotive component parts; and

             (c)   Artificial reduction in innovation and quality in the automotive

component part supply market.

       197. Any competitive benefits from the conduct of Volkswagen and the

Target Companies do not outweigh the actual and likely anticompetitive effects of

the agreements. Any possible procompetitive benefits of the agreements with the

Target Companies could have been achieved by less restrictive alternatives.

       198. Prevent was harmed, and continues to be harmed, as a result of

Volkswagen’s anticompetitive conduct. Prevent suffered antitrust injury because:

             (a)   Volkswagen subjected Prevent to infracompetitive prices for

automotive component parts;




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              (b)   Volkswagen’s anticompetitive agreements to block Prevent’s

procompetitive acquisitions foreclosed Prevent from the market for automotive

component parts, including the relevant individual product sub-markets;

              (c)   Volkswagen’s anticompetitive agreements with the Target

Companies to block Prevent’s acquisitions decreased productive efficiency; and

              (d)   Volkswagen conduct caused Prevent to reduce its automotive

component part output.

      199. The injury to Prevent was a foreseeable consequence of Volkswagen’s

anticompetitive agreements with the Target Companies.

         Claim 5: Violation of Michigan Antitrust Law, M.C.L. § 445.773,
                                Monopsonization

      200. Plaintiffs incorporate by reference the allegations in all preceding

paragraphs.

      201. Volkswagen’s conduct unreasonably restrains trade and commerce

throughout the State of Michigan in violation of Section 3 of the Michigan

Antitrust Reform Act, M.C.L. § 445.773 because Volkswagen monopsonized the

market for automotive component parts.

      202. The relevant market is the worldwide automotive component part

market, including the relevant product sub-markets.




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      203. Volkswagen has monopsony market power in the market for the

automotive component parts, including in each of the relevant individual product

sub-markets.

      204. Volkswagen’s monopsony power is not the consequence of a superior

product, business acumen, or historical accident. Instead, Volkswagen’s

monopsony power stems from its anticompetitive upstream control strategy,

including its anticompetitive interference with procompetitive supplier

acquisitions, which unreasonably restrains trade. Volkswagen therefore willfully

acquired or maintained its monopsony power.

      205. There is no procompetitive justification for Volkswagen’s

anticompetitive conduct that outweighs its anticompetitive effects. Any possible

procompetitive benefits could have been achieved by less restrictive alternatives.

      206. Volkswagen’s willful acquisition or maintenance of its monopsony

power described in this Complaint injured, and continues to injure, Prevent in its

business or property. Prevent suffered antitrust injury because:

               (a)   Volkswagen subjected Prevent to infracompetitive prices for

automotive component parts;

               (b)   Volkswagen’s anticompetitive agreements to block Prevent’s

procompetitive acquisitions foreclosed Prevent from the market for automotive

component parts, including the relevant individual product sub-markets;


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               (c)    Volkswagen’s anticompetitive agreements with the Target

Companies to block Prevent’s acquisitions decreased productive efficiency; and

               (d)    Volkswagen conduct caused Prevent to reduce its automotive

component part output.

         207. The injury to Prevent was a foreseeable consequence of Volkswagen’s

willful maintenance or acquisition of its monopsony power.

            Claim 6: Violation of Michigan Antitrust Law, M.C.L. § 445.773,
                              Attempted Monopsonization

         208. Plaintiffs incorporate by reference the allegations in all preceding

paragraphs.

         209. In the alternative to Claim 5, Volkswagen’s conduct unreasonably

restrains trade and commerce throughout the State of Michigan in violation of

Section 3 of the Michigan Antitrust Reform Act, M.C.L. § 445.773 because

Volkswagen attempted to monopsonize the market for automotive component

parts.

         210. The relevant market is the worldwide automotive component part

market, including the relevant product sub-markets.

         211. Volkswagen restrained trade in the automotive component part market

by inducing suppliers to thwart procompetitive acquisitions. This conduct,

including blocking Prevent from acquiring each of the Target Companies, was both

predatory and anticompetitive.

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      212. Volkswagen had a specific intent to monopsonize the automotive

component part supply market, including the relevant product sub-markets.

      213. There is no procompetitive justification for Volkswagen’s

anticompetitive conduct that outweighs its anticompetitive effects. Any possible

procompetitive benefits could have been achieved by less restrictive alternatives.

      214. Volkswagen had a dangerous probability of achieving monopsony

power.

      215. As a direct and proximate result of Volkswagen’s predatory and

anticompetitive conduct, Prevent suffered injury because, among other things:

             (a)   Volkswagen subjected Prevent to infracompetitive prices for

automotive component parts;

             (b)   Volkswagen’s anticompetitive agreements to block Prevent’s

procompetitive acquisitions foreclosed Prevent from the market for automotive

component parts, including the relevant individual product sub-markets;

             (c)   Volkswagen’s anticompetitive agreements with the Target

Companies to block Prevent’s acquisitions decreased productive efficiency; and

             (d)   Volkswagen conduct caused Prevent to reduce its automotive

component part output.




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      216. The injury to Prevent was a foreseeable consequence of Volkswagen’s

anticompetitive conduct, which was done with the intent of monopsonizing the

market for automotive component parts.

         Claim 7: Tortious Interference with Business Relationship and/or
                                   Expectancy

      217. Plaintiffs incorporate by reference the allegations in all preceding

paragraphs.

      218. Prevent had a valid business relationship and/or expectancy in the

potential acquisition of Tower International. Prevent had more than a subjective

belief that it would complete the acquisition because both the Tower CEO and

Tower Americas CFO expressed a willingness and desire to sell to Prevent but for

Volkswagen’s interference, the Brazil business was publicly held for sale, the

Tower board had approved a plan to sell the Brazil business, the Brazil operations

were a significant loss maker for Tower, Prevent’s offer was the only offer at the

time, and Prevent’s offer would have maximized shareholder value.

      219. Volkswagen knew about the relationship or expectancy between

Prevent and Tower because Volkswagen explicitly conditioned future dealings

between Volkswagen and Tower on Tower refusing to sell to Prevent.

      220. Volkswagen intentionally interfered in the relationship or expectancy

between Prevent and Tower. Tower expressly refused to accept Prevent’s offer



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because of Volkswagen’s interference. But for Volkswagen’s interference, Tower

would have accepted Prevent’s offer.

       221. Volkswagen’s conduct satisfies the wrongful act requirement because:

              (a)      Volkswagen’s conduct is anticompetitive, violating federal and

state antitrust law;

              (b)      Volkswagen conspired to cause, aided and abetted, or

otherwise induced Tower management to breach the fiduciary duties owed to their

shareholders, including the duties of loyalty, honesty, good faith, and fair, open,

and honest disclosure;

              (c)      Volkswagen’s conduct amounts to the Michigan tort of civil

conspiracy; and

              (d)      Volkswagen’s acted with malice and without a valid business

justification because the interference served no legitimate business or economic

purpose.

       222. Volkswagen was not motivated by legitimate business reasons.

Volkswagen does not have a legitimate business justification for its interference in

Prevent’s attempted acquisition of Tower.

       223. Volkswagen’s interference was the direct and proximate cause of

Prevent’s failed acquisition of the Tower International.




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      224. As a direct and proximate result of Volkswagen’s conduct, Prevent

suffered damages.

                                Claim 8: Civil Conspiracy

      225. Plaintiffs incorporate by reference the allegations in all preceding

paragraphs.

      226. Volkswagen and the Target Companies’ management combined,

through concerted action, to accomplish an unlawful purpose.

      227. The purpose of this conspiracy was unlawful because:

              (a)   Volkswagen aided and induced Target Companies’

management to breach their fiduciary duties to their shareholders;

              (b)   The agreement was an unlawful restraint of trade in violation

of state and federal antitrust law; and

              (c)   Volkswagen’s conduct amounts to tortious interference with a

business expectancy in violation of state law.

      228. Volkswagen and the Target Companies’ management acted together

under a common plan or design.

      229. As a direct and proximate result of the conspiracy, Prevent was

injured and suffered damages.




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                              Claim 9: Unjust Enrichment

      230. Plaintiffs incorporate by reference the allegations in all preceding

paragraphs.

      231. Prevent provided substantial benefits to Volkswagen by selling

component parts to Volkswagen at a price below the competitive level.

      232. As a result of Prevent’s substantial efforts, Volkswagen received

significant benefits, including the ability to procure component parts from Prevent

and the Target Companies at prices and on terms that Prevent and the Target

Companies would not have accepted in competitive market.

      233. Volkswagen unjustly retained the benefits conferred by Prevent by

failing to pay Prevent a price for its component parts that was at or above the

competitive level.

      234. It would be inequitable for Volkswagen to retain this benefit.

IX.   REQUEST FOR RELIEF

      235. Prevent requests the following relief:

              (a)    A jury verdict for the compensatory damages sustained by

Prevent;

              (b)    A judgment against Volkswagen, by the Court, in treble the

amount of the jury verdict, and for attorneys’ fees, costs, and interest under Section

15 of the Clayton Act, 15 U.S.C. § 15;


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             (c)    A permanent injunction under Section 16 of the Clayton Act, 15

U.S.C. § 26, enjoining Volkswagen from future violations of the antitrust laws and

from practices that facilitate those violations;

             (d)    Restitution and disgorgement; and

             (e)    Such other and further relief as the Court deems just and

proper.

X.    JURY DEMAND

      236. Prevent demands a trial by jury.




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                                      Respectfully submitted,

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